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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CANDAISE HARRIS, ON BEHALF OF        :               CIVIL ACTION
MINOR CHILD, TB                      :
                                     :
           v.                        :
                                     :
SOUTHEAST DELCO SCHOOL               :
DISTRICT, et al.                     :               NO. 18-5654


                                   ORDER

          AND NOW, this 25th     day of March, 2019, it is hereby

ORDERED that the unopposed motion of plaintiffs to dismiss the

complaint under Rule 41 of the Federal Rules of Civil Procedure

is GRANTED without prejudice.

                                             BY THE COURT:



                                             /s/ Harvey Bartle III
                                                                          J.
